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January 13, 2022

VIA FEDERAL EXPRESS

The Honorable Nan R. Colley, Clerk
Charlotte County Circuit Court

115 David Bruce Avenue

Charlotte Court House, VA 23923

RE: Hillary Allen McCargo v. Barnett Real Properties, Inc.

Dear Ms. Colley:

Enclosed please find a Cover Sheet for Filing Civil Actions, and an original and five
copies of the Complaint in the captioned matter, which I ask that you file. Please prepare the

Complaint for service upon the defendants.

I have enclosed a check in the amount of $347.00 for filing. I will arrange for service
through a civil process server. I have enclosed a self-addressed stamped envelope for the return

of the documents.
Should you have any questions or concerns, please do not hesitate to call.
Very truly yours,

CowanGates
FNCjr/Ir
Enclosures

ce: Mr. Hillary McCargo

Ms. Allyson M. Bavolek, Sedgwick Claim No. 30204656177-0001
Mr. Richard Morton, Hanover Claim No.19-00639418-002

COWANGATES

In any case.
1930 Huguenot Road {| Richmond, VA 23235
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VIRGINIA:

IN THE CIRCUIT COURT OF CHARLOTTE COUNTY
HILLARY ALLEN MCCARGO, Plaintiff,
Vv. Case No.

BARNETT REAL PROPERTIES, INC.,

Serve: C T Corporation System, Registered Agent
4701 Cox Rd. Suite 285
Glen Allen, VA, 23060

BARNETT PROPERTIES, LLC

Serve: Ray Barnett, Registered Agent
Barnett Properties LLC
1344 Shasta Lane
Forest, VA, 24551

WALGREEN CO. d/b/a Walgreens Store #17843,

Serve: Corporation Service Company, Registered Agent
100 Shockoe Slip Fl 2
Richmond, VA, 23219

SALISBURY MALL LIMITED PARTNERSHIP,
Serve: Trevor B. Reid, Registered Agent
6802 Paragon Pl., Suite 300
Richmond, VA 23230

SAL PROPERTIES, INC.
Serve: Clerk of the State Corporation Commission
1300 E. Main St.
Richmond, Virginia 23219 Defendants.
COMPLAINT
COMES NOW the plaintiff, Hillary Allen McCargo, by counsel, and for his Complaint,

states as follows:
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l. Plaintiff, Hillary Allen McCargo (‘Plaintiff’), is an individual residing in Charlotte
County, Virginia.

2. Barnett Real Properties, Inc., is a Georgia Corporation, authorized to do business
in the Commonwealth of Virginia, with its principal office located in North Carolina (“Barnett
Real”).

3. Barnett Properties, LLC is a Virginia Limited Liability Company, with its principal
office located at 1344 Shasta Lane, Forest, VA 24551 (“Barnett”).

4, Walgreen Co. d/b/a Walgreens Store # 17843 is an Illinois corporation, authorized
to do business in the Commonwealth of Virginia, with its principal office located in Illinois
(“Walgreens”).

5. Salisbury Mall Limited Partnership is a North Carolina Limited Partnership, with
its principal office address listed on the Virginia State Corporation Commission as “Barnett
Properties LLC, 775 Graham Ave Ste 201, Henderson, NC, 27536” (“Salisbury”)

6. SAL Properties, Inc. is a North Carolina Corporation with its registered office
located in Henderson, North Carolina (“SAL”) (Salisbury, Barnett Real, Walgreens, Barnett, and
SAL are collectively, “Defendants”).

Background

7. Walgreens operates a store/pharmacy at 670 King Street, Keysville, VA 23947 (the
*Store”).

8. Upon information and belief Salisbury owns the Store property.

9. Upon information and belief Barnett is an integrated commercial real estate firm

offering a variety of real estate services including development, project management, brokerage,
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advisory services and property management, with a primary focus on retail. Upon information and |
belief, Barnett is the property management company for the Store location.

10. Upon information and belief, Barnett Real Properties, Inc. is a general partner of
Salisbury.

11. Upon information and belief, SAL Properties, Inc. is a general partner of Salisbury.

12. Atall times herein material to the matters alleged in this Complaint, Salisbury Mall
Limited Partnership, SAL Properties, Inc., Barnett Real Properties, Inc., Barnett Properties, LLC
were the agent and/or employee and/or partner of each of the other defendants and, in doing things
herein alleged, were acting within the course and scope of such agency and/or employment, and/or
partnership and were aided and/or abetted by the other and/or ratified the acts of the other so as to
make them jointly liable for Plaintiff's damages.

13. The Plaintiff is informed, believes and alleges, on the basis of said information and
belief, that there is a unity of interest and operation between Salisbury Mall Limited Partnership,
SAL Properties, Inc., Barnett Real Properties, Inc., Barnett Properties, LLC such that their separate
independent classification is a fiction in that each is the alter ego of the other.

14. Each of the Defendants are liable for the acts of each other through the principles
of “respondeat superior”, agency, ostensible agency, partnership, alter ego and other forms of
vicarious liability.

15. | Onor about February 21, 2020, Plaintiff was an invitee of Defendants.

16. As the Defendants invitee, Plaintiff has the right to assume that the sidewalk, Store

entrance, and premises were reasonably safe.
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17. Onor about February 21, 2020, Plaintiff while attempting to enter the Store, in an
area specifically designated for pedestrians, slipped on black ice which had formed on the concrete
sidewalk at or near the entrance of the Store, seriously injuring himself.

18. After slipping, Plaintiff, for the first time, realized that he was attempting to walk
over ice that was not apparent to the naked eye.

COUNT I

19. Prior to Plaintiff's slip and fall, freezing rain and/or snow had fallen at the Store
location.

20. The Defendants waited an unreasonable amount of time after the precipitation
stopped falling to attempt to clear the ice/snow, and allowed black ice to form at the entrance to
the Store in an area specifically designated for pedestrian access.

21. Defendants, as the owner/occupant of a commercial premises, had a duty to
Plaintiff, an invitee, and other customers of the Store, to use ordinary and reasonable care to
remove ice or snow from outdoor entrance walks, steps, porches, stoops, and parking lots within a
reasonable time after the freezing rain/snow stops falling. The Defendants breached the
aforementioned duties owed to Plaintiff, causing Plaintiff serious bodily injury.

22. The Defendants breached their duties to Plaintiff by negligently failing to remove
ice or snow from outdoor entrance walks, steps, porches, stoops, and parking lots within a
reasonable time after the ice/snow within a reasonable time after the freezing rain/snow stopped
falling.

23.  Asadirect and proximate result of the Defendants’ negligence and breaches of their
duties, Plaintiff sustained serious bodily injuries, has suffered and will suffer, and has incurred and

will incur, both in the past and in the future: (a) severe, serious, and debilitating physical injuries,
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including, without limitation, permanent injuries; (b) physical pain and mental anguish; (c)
disfigurement and deformity and associated humiliation and embarrassment; (d) inconvenience;
(e) expenses for medical care and treatment and related expenses; (f) has suffered scarring and
associated humiliation and associates embarrassment therewith; (g) has suffered inconvenience
and discomfort; and (h) loss of earnings and/or loss of earning capacity.

COUNT I

24. The black ice which the Defendants allowed to form at the Store entrance
constituted a dangerous, unsafe and hazardous condition of which the Defendants were aware and
had notice, both actual and constructive, of the dangerous, unsafe and hazardous condition and
Plaintiff slipped and fell as a result of the dangerous condition.

25. As the owner and operator of the Store, a place of business to which the general
public is invited, it was the duty of the Defendants, their agents, and employees to maintain its
premises in a reasonably safe condition; to make reasonable inspections; to warn the public of any
defects which it knew or should have known about and to otherwise use ordinary care and diligence
to keep its premises in a reasonably safe condition for its intended use and to use ordinary care to
correct all defects and conditions which would render it dangerous and unsafe for invitees which
it knew or should have known about.

26. Notwithstanding their aforementioned duties, the Defendants, their agents, and
employees carelessly, recklessly and negligently allowed the black ice to form on the sidewalk at
the entrance to the Store in an area in which its guests customarily pass (i.e. the Store
entrance/sidewalk). The Defendants, and their agents and employees, knew or in the exercise of
reasonable care should have known that black ice at such an area constituted a dangerous condition

and a tripping and/or slipping hazard.
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27. Notwithstanding its duties to do so, as the owner and/or operator the Store, a place
of business to which the general public is invited, Defendants breached their aforementioned duties
by carelessly, recklessly, and negligently failing to warn the public of the dangerous and hazardous
condition at the Store entrance, by negligently failing to repair the unsafe condition, by negligently
allowing ice to form at the Store entrance, by failing to salt the area, and by failing to design the
Store entrance so as to prevent the formation of black ice.

28. Asa direct and proximate result of Defendants’ negligence, Plaintiff sustained
serious bodily injuries, Plaintiff has suffered and will suffer, and has incurred and will incur, both
in the past and future: (a) severe, serious, and debilitating physical injuries, including, without
limitation, permanent injuries; (b) physical pain and mental anguish; (c) disfigurement and
deformity and associated humiliation and embarrassment; (d) inconvenience; (€) expenses for
medical care and treatment and related expenses; (f) has suffered scarring and associated
humiliation and associates embarrassment therewith; (g) has suffered inconvenience and
discomfort; and (h) loss of earnings and/or loss of earning capacity.

Count III (Pled in the Alternative

29. The Defendants knew, or should have known, about the black ice on which Plaintiff
slipped and fell.

30.  Atno time did Plaintiff use the Defendants Store entrance or sidewalk in a manner
that exceeded the scope of his invitation.

31. The entrance to the Store was covered by a metal overhang without gutters and/or
a water collection device on the overhang to prevent water drainage directly onto the sidewalk,

additionally, at the location of Plaintiff's slip and fall, the sidewalk was designed to slope in such
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a way that water coming off of the overhang would pool in front of the Store entrance and on the
side walk, allowing water to accumulate and freeze, constituting a dangerous condition.
32. The Defendants were negligent in at least the following respects:

a. The Defendants failed to use ordinary care to have its premises in a reasonably safe
condition for Plaintiff's use.

b. The Defendants failed to warn Plaintiff of the unsafe condition on its premises
about which the Defendants knew, or by the use of ordinary care should have
known.

c. The Defendants failed to use ordinary care to remove foreign objects from its
premises, within a reasonable time after it knew, or should have known, the foreign
objects were there, regardless of how the foreign objects got there.

d. The Defendants failed to use ordinary care to remove ice or snow from the Store
entrance / sidewalk within a reasonable time after precipitation ended.

e. The Defendants failed to salt or treat the Store entrance and/or sidewalk to prevent
and/or mitigate the danger of black ice.

f. The Defendants failed to use ordinary and reasonable care under the circumstances.

g. The Defendants failed to exercise ordinary care in the use and maintenance of its
property to prevent injury to others, including Plaintiff.

33. The Defendants breached all of the aforementioned duties, causing serious injuries
to Plaintiff.

34. Asa direct and proximate result of Defendants’ negligence, Plaintiff sustained
serious bodily injuries, Plaintiff has suffered and will suffer, and has incurred and will incur, both

in the past and future: (a) severe, serious, and debilitating physical injuries, including, without
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limitation, permanent injuries; (b) physical pain and mental anguish; (c) disfigurement and
deformity and associated humiliation and embarrassment; (d) inconvenience; (€) expenses for
medical care and treatment and related expenses; (f) has suffered scarring and associated
humiliation and associates embarrassment therewith; (g) has suffered inconvenience and
discomfort; and (h) loss of earnings and/or loss of earning capacity.

WHEREFORE, the plaintiff, Hillary Allen McCargo, demand judgment against the
defendants, jointly and severally, in the amount of NINE HUNDRED FIFTY THOUSAND
DOLLARS ($950,000.00), with prejudgment interest from the date of accident plus post judgment

interest and costs as provided by law.
TRIAL BY JURY IS DEMANDED.

HILLARY ALLEN MCCARGO

Counsel
F. Neil Cowan, Jr., Esq. (VSB No. 28665)
W. Henry M. Jones, Esq. (VSB No. 89304)
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Mr. Richard Morton

Senior Litigation Adjuster
Hanover Insurance Group

P. O. Box 15145

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